          Case 1:24-cr-00031-RP Document 33 Filed 09/12/24 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 UNITED STATES OF AMERICA,                       §
                Plaintiff,                       §
 v.                                              §      No. 1:24-CR-031      RP
                                                 §
 FRANK RICHARD AHLGREN, III,                     §
               Defendant.                        §


                         REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE


TO:    THE UNITED STATES DISTRICT JUDGE

       The Magistrate Court submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b)(3). The District Court referred this case to the United States

Magistrate Judge for the taking of the defendant’s felony guilty plea and for the defendant’s

allocution pursuant to Federal Rule of Criminal Procedure 11.

       The defendant and counsel appeared before the Magistrate Court. The undersigned

addressed the defendant personally in open court, informed the defendant of the admonishments

under Rule 11 of the Federal Rules of Criminal Procedure, and determined that the defendant

understood those admonishments.

       Pursuant to a plea agreement, the defendant pled guilty to Count One of the Indictment

which charged the defendant with Willfully Making and Subscribing a False Tax Return in

violation of Title 26, United States Code § 7206(1).




                                                1
        Case 1:24-cr-00031-RP Document 33 Filed 09/12/24 Page 2 of 3




     The Magistrate Judge finds the following:

1.   The defendant, with the advice of the defendant’s attorney, consented to enter this guilty

     plea before the Magistrate Judge, subject to final approval and sentencing by the District

     Judge

2.   The defendant fully understands the nature of the charge to which the defendant pled and

     possible penalties;

3.   The defendant understands the defendant’s constitutional and statutory rights, that those

     constitutional and statutory rights can be waived, and the meaning and effect of waiving

     those constitutional and statutory rights;

4.   The defendant waived the right to appeal except in a case in which the sentence imposed

     is greater than the maximum sentence authorized by statute. The defendant also waived

     the right to challenge the defendant’s conviction or sentence under 28 U.S.C. §§ 2241

     and 2255. The defendant did not waive the right to raise a challenge based on ineffective

     assistance of counsel and prosecutorial misconduct;

5.   The defendant’s plea was made freely and voluntarily;

6.   The defendant is competent to enter this plea of guilty; and

7.   There is a factual basis for this plea.

8.   The defendant has reviewed the plea agreement carefully with the defendant’s attorney.

     The defendant further advised that the defendant understands the plea agreement and

     agrees to be bound by the plea agreement.




                                                  2
          Case 1:24-cr-00031-RP Document 33 Filed 09/12/24 Page 3 of 3




                                     RECOMMENDATION

       The Magistrate Court RECOMMENDS the District Court accept the defendant’s guilty

plea and, after reviewing the pre-sentence investigation report, enter a Final Judgment of guilt

against him.

                                           WARNING

       The parties may file objections to this Report and Recommendation. A party filing an

objection must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections.

See Battle v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party’s failure to file written objections to the proposed findings and recommendations

contained within this Report within fourteen (14) days after being served with a copy of the

Report shall bar that party from de novo review by the District Court of the proposed findings

and recommendations and, except upon grounds of plain error, shall bar the party from appellate

review of proposed factual findings and legal conclusions accepted by the District Court to

which no objections were filed. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140,

150–53, 106 S. Ct. 466, 472–74 (1985); Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415,

1428–29 (5th Cir. 1996) (en banc).



       SIGNED on September 12, 2024.




                                            _____________________________________
                                            MARK LANE
                                            UNITED STATES MAGISTRATE JUDGE




                                                 3
